                         INTHEUNITEDSTATESDISTRICTCOURT
                         FORTHENORTHERNDISTRICTOFIOWA
                                CEDARRAPIDSDIVISION
                                                
JENNIFERS.JENKINS,                      
                                           
            Plaintiff,                          No.C11Ͳ31
                                           
vs.                                               JUDGMENT

MEDICALLABORATORIESOFEASTERN
IOWA,INC.,

            Defendant.

     DECISIONBYCOURT.ThisactioncametheCourtandadecisionhasbeenrendered.

      ITISORDEREDANDADJUDGEDpursuanttoanOrder(doc.23)filedonJuly20,2012:

      Thatplaintiffrecovernothing,andthisactionisdismissed.

DatedJuly20,2012

                                       ROBERTL.PHELPS
                                       CLERK


                                       ______________________________________
                                       DeputyClerk




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